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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

©,

WESTERN DIVISION Hy

UNITED STATES OF AMERICA : CASE NO.: YY ey
(1:13CR' @ *®
V. : INDICTMENT
18 U.S.C. § 2250(a)

WAYNE BRYAN WADE
The Grand Jury charges that:

Count 1

On or about November 21, 2012. in the Southern District of Ohio, the defendant, WAYNE

BRYAN WADE, an individual required to register under the Sex Offender Registration and

Notification Act, traveled in interstate and foreign commerce and did knowingly fail to update a
registration as required by the Sex Offender Registration and Notification Act.

In violation of Title 18, United States Code, Section 2250(a).

A TRUE BILL
GRAXD JURY FOREPERSON
CARTER M. STEWART
UNITED STATES ATTORNEY
ANTHONY SPRINGER

CINCINNATI BRANCH CHIEF
